      Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 1 of 22 PageID #:1



                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

ORALEAN WILLIAMS                                       )
                                                       )
                       Plaintiff,                      )
                                                       )
vs.                                                    )         Case No.
                                                       )
CITY OF CHICAGO, a Municipal                           )
Corporation, and RICHARD “BUCK”                        )
ADAMS, an individual,                                  )
                                                       )
                       Defendants.                     )

                                           COMPLAINT

       Plaintiff, ORALEAN WILLIAMS, by and through her attorney, Seth R. Halpern of

MALKINSON & HALPERN, P.C., and complains of Defendants CITY OF CHICAGO, a

municipal corporation, and RICHARD “BUCK” ADAMS, an individual, as follows:

                                     NATURE OF THE CASE

       1.      Plaintiff, ORALEAN WILLIAMS, an African-American female, brings this

action against defendants CITY OF CHICAGO and its employee, RICHARD “BUCK”

ADAMS, to remedy discrimination and harassment, on the basis of race and gender, and

retaliation in violation of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq.,

(“Title VII”), and 42 U.S.C. 1981 (“Section 1981”), and 42 U.S.C. 1983 (“Section 1983”).

Plaintiff seeks declaratory and injunctive relief, compensatory and punitive damages, attorneys’

fees, costs, and other appropriate legal and equitable relief.

                                PARTIES AND JURISDICTION

       2.      Plaintiff, ORALEAN WILLIAMS (hereinafter "WILLIAMS" or "Plaintiff"), is an

African-American female citizen of the United States and presently resides in the City of

Chicago, County of Cook, State of Illinois.
       Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 2 of 22 PageID #:2



        3.      Defendant CITY OF CHICAGO (hereinafter "CITY") is an Illinois municipal

corporation, doing business in, and maintaining an office and motor vehicle yard of the Chicago

Department of Streets and Sanitation at 52nd Street and Oakley Avenue in the City of Chicago,

County of Cook, State of Illinois (“yard” or “52nd and Oakley Yard”). CITY is engaged in an

industry affecting commerce and, at all times pertinent hereto, was an employer within the

meaning of 42 U.S.C. §2000e(b).

        4.      Defendant, RICHARD “BUCK” ADAMS, (hereinafter "ADAMS") (non-African

American), is a citizen of the United States and resident of the State of Illinois. At all relevant

times hereto, ADAMS is, and was, an agent, servant and/or employee of CITY, within the

meaning of 42 U.S.C. §2000e(b), and was employed by CITY in the Department of Streets and

Sanitation as Yard Supervisor at the facility located at the 52nd and Oakley Yard.           Upon

information and belief, at all relevant times, ADAMS possessed and was delegated final

policymaking authority for personnel issues arising within the Department of Sanitation at the

52nd and Oakley Yard.

        5.      This action is brought by plaintiff against CITY and against ADAMS,

individually.

        6.      At all times relevant herein, CITY, and ADAMS (hereinafter collectively referred

to as "the Defendants"), were acting under color of law pursuant to their authority and grants of

power under the United States Constitution and the Constitution and statutes of the State of

Illinois.

        7.      This court has jurisdiction of this case pursuant to 42 U.S.C. §§1981, and 1983,

and 1988, 42 U.S.C. §2000e, et seq, as amended by the Civil Rights Act of 1991, and 28 U.S.C.

§§1331, 1343(4) and 1367.



                                                2
      Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 3 of 22 PageID #:3



        8.      This action properly lies in this district pursuant to 28 U.S.C. §1391 because the

claims arose in this judicial district.

        9.      Plaintiff has complied with all administrative prerequisites by filing with the

Illinois Department of Human Rights (IDHR) a timely Charge of Discrimination based on race

and gender which was also cross-filed with the United States Equal Employment Opportunity

Commission (“EEOC”). A copy of the Charge of Discrimination is attached hereto as Exhibit A.

        10.     On or about June 29, 2016, Plaintiff received her Notice of Right to Sue from the

EEOC, attached hereto as Exhibit B.

                                          GENERAL ALLEGATIONS

        11.     Plaintiff is an African-American female, and a member of multiple protected

classes.

        12.     In approximately 2000, CITY hired Plaintiff as a Motor Truck Driver (“MTD”) in

the Department of Streets and Sanitation. For much of her employment, Plaintiff drove a

sanitation truck and was stationed at the yard located at 52nd Street and Oakley Avenue from

approximately 2008 to July of 2015.

        13.     In approximately May of 2014, Plaintiff was elevated to the position of “E-

Person”, which was a prestigious office and administrative position at the yard. At that time, she

came under the direct, daily supervision of defendant, ADAMS.

        14.     Upon information and belief, at all relevant times, ADAMS possessed and was

delegated final policymaking authority for personnel issues arising within the Department of

Streets and Sanitation at the 52nd and Oakley Yard.

        15.     During the course of her employment at CITY, plaintiff performed all of her

duties and responsibilities in a satisfactory manner.



                                                 3
      Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 4 of 22 PageID #:4



       16.     Beginning almost immediately after her appointment to the “E-Person” position,

and continuing consistently through July of 2015 when she was finally transferred and thereafter,

Plaintiff was and continues to be victim of a pattern and practice of race and gender

discrimination and harassment, disparate treatment as to the terms and conditions of employment

based upon race and gender, and retaliation for complaining about discrimination and

harassment, while employed at the Chicago Department of Streets and Sanitation.

       17.     Specifically, beginning in or around May of 2014 and continuing until July of

2015, ADAMS continually and on a daily basis, commonly in the presence of multiple Streets

and Sanitation employees, engaged in gender discriminatory and harassing behavior in the

workplace directed toward Plaintiff, that included but is not limited to:

       a.      Subjecting Plaintiff to different and demeaning terms and conditions of

               employment than her similarly situated male counterparts, including prohibiting

               her from entering the “shop” at the yard to check on the sanitation trucks despite

               the fact that her job required her to do so, prohibiting Plaintiff from using her cell

               phone while working while allowing all other similarly situated males to do so,

               refusing to provide or arrange for appropriate E-Person job training and forcing

               Plaintiff to log incoming trucks while standing outdoors, instead of in the office

               window, even in the harshest weather conditions;

       b.      Repeatedly commenting derogatorily to Plaintiff about the fact that she was a

               woman and as such, should not have the E-Person position and stating that

               “women should be at home”;

       c.      Repeatedly screaming and adopting a demeaning tone toward Plaintiff;

       d.      Repeatedly using the exclamation “Women!” when walking away from Plaintiff



                                                 4
      Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 5 of 22 PageID #:5



               following discussions;

       e.      Making derogatory comments to Plaintiff, such as “You women are worthless”,

               during work hours and in the presence of other employees;

       f.      Indicating and stating that the Plaintiff was “nothing a bullet won’t cure”;

       g.      Implying that Plaintiff would never be good at her job unless she learned to lay on

               the ground and twist wires, while never indicating that any similarly situated male

               E-Person was required to do so; and

       h.      Making other gender derogatory and/or disparaging remarks to, about, and in the

               presence of Plaintiff.

       18.     Each of these comments, remarks, or gestures was not an isolated incident, but is

an example of the type of discriminatory and gender charged comments and conduct by

ADAMS, that were an everyday occurrence at Plaintiff’s workplace during the relevant period of

her tenure working in the office at the yard.

       19.     Each of the aforementioned repetitive actions created a gender-based hostile work

environment for Plaintiff.

       20.     Additionally, beginning in or around May of 2014 and continuing until July of

2015, ADAMS, who is not African-American, continually and on a daily basis, commonly in the

presence of multiple Streets and Sanitation employees, engaged in racially discriminatory and

harassing behavior in the workplace directed toward Plaintiff and others, that included but is not

limited to:

       a.      Repeatedly making reference to African-American employees as “you black

               people” in a derogatory manner;

       b.      Repeatedly using the term “nigga” or “niggas” in reference to African American



                                                 5
Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 6 of 22 PageID #:6



       employees;

 c.    Ordering Plaintiff to “get a mop and start mopping” because “black people are

       good for mopping”;

 d.    Telling Plaintiff that she knew how to “handle” her “people”, meaning black

       employees;

 e.    Having a “swear jar” in the office in which an employee was charged $5 for using

       the word “nigger”;

 f.    Repeatedly using the word “nigger” in derogatory fashion while in the office and

       in the presence of Plaintiff;

 g.    Stating that black people should not have the E-Person position, referring to

       Plaintiff and another African-American E-Person;

 h.    Subjecting Plaintiff to different and demeaning terms and conditions of

       employment than her similarly situated non-African-American counterparts,

       including prohibiting her from entering the “shop” at the yard to check on the

       sanitation trucks despite the fact that her job required her to do so, prohibiting

       Plaintiff from using her cell phone while working while allowing all other

       similarly situated African American employees to do so, refusing to provide or

       arrange for appropriate E-Person job training and forcing Plaintiff to log incoming

       trucks while standing outdoors, instead of in the office window, even in the

       harshest weather conditions;

 i.    Telling Plaintiff that Black women were worthless and other similar comments;

 j.    Stating out loud in Plaintiff’s presence that he did not want his daughter to date a

       Black man;



                                        6
         Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 7 of 22 PageID #:7



           k.       Allowing at least one co-worker to refer to Plaintiff as “the Black E-Woman”

                    without repercussion; and

           l.       making other racially derogatory and/or disparaging remarks to, about, and in the

                    presence of Plaintiff and subjecting her to other differing terms and conditions

                    than non-African American employees.

           21.      Each of these comments, remarks, or gestures was not an isolated incident, but is

an example of the types of discriminatory and racially charged comments and conduct by

ADAMS, and others, that were an everyday occurrence at Plaintiff’s workplace during the

relevant period of her tenure working in the office at the yard.

           22.      Each of the aforementioned repetitive actions created a racially hostile work

environment for Plaintiff.

           23.      Plaintiff complained about the aforementioned racial and gender discrimination to

an individual supervisor at the downtown Chicago office of the Department of Streets and

Sanitation on several occasions during the early half of 2015 (“Jay”)1, who said he would talk to

ADAMS, but Plaintiff noticed no difference in ADAMS’ behavior and, therefore, no effective

disciplinary action was taken.

           24.      Plaintiff further reported ADAMS’ aforementioned behavior to several other

supervisors on site, as well as the 16th Ward Superintendent, Nate Wilson. She then prepared a

written complaint and provided it to disciplinary officer, Katrika Scott.                          No immediate or

effective action was taken.             Thereafter, Plaintiff was told to and did eventually report the

misconduct to Janet Gay, Administrative Supervisor, in the downtown office of the Department

of Streets and Sanitation.



1
    While Plaintiff only referred to this individual as “Jay”, upon information and belief, his last name is Keag.

                                                             7
        Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 8 of 22 PageID #:8



         25.   After Plaintiff’s reports of discrimination, Defendants began a course of

retaliation against Plaintiff that included but is not limited to adversely affecting the terms and

conditions of her employment. For example, ADAMS responded to her complaints by falsely

disciplining Plaintiff for “disrupting his yard”.

         26.   Plaintiff was thereafter called into a meeting downtown with Streets and

Sanitation supervisory personnel including Janet Gay, Josie Cruz (Deputy Director) and another

gentlemen (“Ray”) and, in further retaliation for her complaints, was relieved of her duties as E-

Person and reassigned to another yard, where, instead of having an administrative position, she

was sent back to the motor pool to drive a sanitation truck. No option was offered to her

whereby she could have stayed in her more desirable and prestigious position of E-Person and

ADAMS would be reassigned to another yard. To date, she remains reassigned to the motor

pool.

         27.   At all relevant times, Janet Gay, Josie Cruz, “Jay” and “Ray” were/are agents,

servants and/or employees of CITY, within the meaning of 42 U.S.C. §2000e(b), and were

employed by CITY as Directors and/or Administrators of the Department of Streets and

Sanitation. Upon information and belief, at all relevant times, each possessed and was delegated

final policymaking authority for personnel issues arising within the Department of Streets and

Sanitation.

         28.   Janet Gay, Josie Cruz, “Jay”, “Ray” and ADAMS never adequately responded to

plaintiffs’ complaints and thereby approved, condoned and/or turned a blind eye to the

discrimination and harassment by ADAMS and described, herein.




                                                    8
      Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 9 of 22 PageID #:9



       29.     As a result of the unlawful and willful acts complained of herein, plaintiff has

suffered loss of wages and other compensation, as well as severe emotional distress,

embarrassment, humiliation, and mental anguish.

                                   COUNT I-CITY
                    RACE DISCRIMINATION IN VIOLATION OF TITLE VII

       1-29. Plaintiffs repeat and reallege Paragraphs 1-29 above, as paragraphs 1-29 of this

Count I, as though fully rewritten, herein.

       30.     Beginning in or around May of 2014 and continuing until July of 2015, ADAMS

continually and on a daily basis, commonly in the presence of multiple Streets and Sanitation

employees, engaged in and allowed racially discriminatory and harassing behavior in the

workplace directed toward Plaintiff and others, that included but is not limited to:

       a.      Repeatedly making reference to African American employees as “you black

               people” in a derogatory manner;

       b.      Repeatedly using the term “nigga” or “niggas” in referring to African American

               employees;

       c.      Ordering Plaintiff to “get a mop and start mopping” because “black people are

               good for mopping”;

       d.      Telling Plaintiff that she knew how to “handle” her “people”, meaning black

               employees;

       e.      Having a “swear jar” in the office in which an employee was charged $5 for using

               the word “nigger”;

       f.      Repeatedly using the word “nigger” in derogatory fashion while in the office and

               in the presence of Plaintiff;

       g.      Stating that black people should not have the E-Person position, referring to


                                                 9
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 10 of 22 PageID #:10



               Plaintiff and another African American E-Person;

       h.      Subjecting Plaintiff to different and demeaning terms and conditions of

               employment than her similarly situated male counterparts, including prohibiting

               her from entering the “shop” at the yard to check on the sanitation trucks despite

               the fact that her job required her to do so, prohibiting Plaintiff from using her cell

               phone while working while allowing all other similarly situated black males to do

               so, refusing to provide or arrange for appropriate E-Person job training and

               forcing Plaintiff to log incoming trucks while standing outdoors, instead of in the

               office window, even in the harshest weather conditions;

       i.      Telling Plaintiff that Black women were worthless and other similar comments;

       j.      Stating out loud in Plaintiff’s presence that he did not want his daughter to date a

               black man;

       k.      Allowing at least one co-worker to refer to Plaintiff as “the Black E-Woman”

               without repercussion; and

       l.      making other racially derogatory and/or disparaging remarks to, about, and in the

               presence of Plaintiff and subjecting her to other differing terms and conditions

               than non-African American employees.

       31.     Each of these comments, remarks, or gestures was not an isolated incident, but is

an example of the types of discriminatory and racially charged comments and conduct by

ADAMS, and others, that were an everyday occurrence at Plaintiff’s workplace during the

relevant period of her tenure working in the office at the yard.

       32.     CITY by and through its agents, servants and employees, including but not

limited to ADAMS, acted with discriminatory intent with regard to the events described herein.



                                                 10
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 11 of 22 PageID #:11



       33.     At all relevant times, plaintiff performed her job in a satisfactory manner.

       34.     Similarly situated non-African-American employees were not subjected to

racially discriminatory and harassing behavior.

       35.     The effect of the Chicago Department of Streets and Sanitation’s actions, policies

and practices as described above has been to create an offensive, humiliating and racially hostile

work environment throughout plaintiff’s tenure at the 52nd and Oakley Yard.

       36.     The aforementioned incidents constituted an unlawful employment practice in

violation of Sec. 703(a) of Title VII, 42 U.S.C. Sec. 2000e-2.

       37.     As a further result of the above stated actions, plaintiff was forced to endure a

racially hostile work environment during her employment at the 52nd Street and Oakley Yard and

has been deprived of income in the form of wages and other benefits due her, solely because of

her race, in an amount to be proved at trial, and has suffered, and continues to suffer severe

emotional distress, humiliation, embarrassment, and mental anguish.

       WHEREFORE, plaintiff ORALEAN WILLIAMS, respectfully prays that this Court enter

judgment in her favor and against CITY OF CHICAGO:

       (a)     Declaring that the conduct of City of Chicago described herein is in violation of
               Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. Sec. 2000e, et
               seq.;

       (b)     Awarding plaintiffs any salary, with interest, she lost as a result of City of
               Chicago’s conduct;

       (c)     Awarding plaintiff compensatory damages, including for emotional distress,
               humiliation, embarrassment mental anguish;

       (d)     Awarding plaintiff reasonable attorneys' fees and costs under 42 U.S.C. Sec.
               2000(e)-5(k) and 42 U.S.C. §1988; and

       (e)     Awarding plaintiff such other and further relief as this Court deems proper and
               just.



                                                  11
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 12 of 22 PageID #:12



                                      COUNT II-CITY
                          GENDER DISCRIMINATION UNDER TITLE VII

       1-29. Plaintiffs repeat and reallege Paragraphs 1-29 of Count I, as paragraphs 1-29 of

this Count II, as though fully rewritten, herein.

       30.     Beginning in or around May of 2014 and continuing until July of 2015, ADAMS

continually and on a daily basis, commonly in the presence of multiple Streets and Sanitation

employees, engaged in gender discriminatory and harassing behavior in the workplace directed

toward Plaintiff, that included but is not limited to:

       a.      Subjecting Plaintiff to different and demeaning terms and conditions of

               employment than her similarly situated male counterparts, including prohibiting

               her from entering the “shop” at the yard to check on the sanitation trucks despite

               the fact that her job required her to do so, prohibiting Plaintiff from using her cell

               phone while working while allowing all other similarly situated males to do so,

               refusing to provide or arrange for appropriate E-Person job training and forcing

               Plaintiff to log incoming trucks while standing outdoors, instead of in the office

               window, even in the harshest weather conditions;

       b.      Repeatedly commenting derogatorily to Plaintiff about the fact that she was a

               woman and as such, should not have the E-Person position and stating that

               “women should be at home”;

       c.      Repeatedly screaming and adopting a demeaning tone toward Plaintiff;

       d.      Repeatedly using the exclamation “Women!” when walking away from Plaintiff

               following discussions;

       e.      Making derogatory comments to Plaintiff, such as “You women are worthless”,

               during work hours and in the presence of other employees;


                                                    12
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 13 of 22 PageID #:13



       f.      Indicating and stating that the Plaintiff was “nothing a bullet won’t cure”;

       g.      Implying that Plaintiff would never be good at her job unless she learned to lay on

               the ground and twist wires, while never indicating that any similarly situated male

               E-Person was required to do so; and

       h.      Making other gender derogatory and/or disparaging remarks to, about, and in the

               presence of Plaintiff.

       31.     Each of these comments, remarks, or gestures was not an isolated incident, but is

an example of the types of discriminatory and gender charged comments and conduct by

ADAMS, that were an everyday occurrence at Plaintiff’s workplace during the relevant period of

her tenure working in the office at the yard.

       32.     CITY by and through its agents, servants and employees, including but not

limited to ADAMS, acted with discriminatory intent with regard to the events described herein.

       33.     At all relevant times, plaintiff performed her job in a satisfactory manner.

       34.     Similarly situated male employees were not subjected to gender-based

discriminatory and harassing behavior.

       35.     The effect of the Chicago Department of Streets and Sanitation’s actions, policies

and practices as described above has been to create an offensive, humiliating and racially hostile

work environment throughout plaintiff’s tenure at the 52nd and Oakley Yard.

       36.     The aforementioned incidents constituted an unlawful employment practice in

violation of Sec. 703(a) of Title VII, 42 U.S.C. Sec. 2000e-2.

       37.     As a further result of the above stated actions, plaintiff was forced to endure a

gender-based hostile work environment during her employment at the 52nd Street and Oakley

yard and has been deprived of income in the form of wages and other benefits due her, solely



                                                13
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 14 of 22 PageID #:14



because of her race, in an amount to be proved at trial, and has suffered, and continues to suffer

severe emotional distress, humiliation, embarrassment, and mental anguish.

        WHEREFORE, Plaintiff ORALEAN WILLIAMS, respectfully prays that this Court

enter judgment in her favor and against CITY OF CHICAGO:

        (a)     Declaring that the conduct of City of Chicago described herein is in violation of
                Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. Sec. 2000e, et
                seq.;

        (b)     Awarding plaintiff any salary, with interest, she lost as a result of City of
                Chicago’s conduct;

        (c)     Awarding plaintiff compensatory damages, including for emotional distress,
                humiliation, embarrassment mental anguish;

        (d)     Awarding plaintiff reasonable attorneys' fees and costs under 42 U.S.C. Sec.
                2000(e)-5(k) and 42 U.S.C. §1988; and

        (e)     Awarding plaintiff such other and further relief as this Court deems proper and
                just.


                                COUNT III-CITY
                   IMPERMISSABLE RETALIATION UNDER TITLE VII

        Plaintiffs repeat and reallege Paragraphs 1-29 of Count I as paragraphs 1-29 of this Count

III, as though fully rewritten, herein.

        30.     Commencing in early 2015, CITY, by and through its agents, servants and

employees, including but not limited to ADAMS, began a course of retaliation against Plaintiff

that included but is not limited to adversely affecting the terms and conditions of her

employment. For example, ADAMS responded to her complaints of discrimination against him

by disciplining Plaintiff for “disrupting his yard”.

        31.     Plaintiff was thereafter called into a meeting downtown with Streets and

Sanitation supervisory personnel Janet Gay, Josie Cruz (Deputy Director) and another gentlemen



                                                  14
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 15 of 22 PageID #:15



(“Ray”) and, in further retaliation for her complaints, was relieved of her duties in July of 2015

as E-Person and reassigned to another yard, where, instead of having an administrative position,

she was sent back to the motor pool to drive a sanitation truck. No option was offered to her

whereby she could have stayed in her more desirable and prestigious position of E-Person and

ADAMS would be reassigned to another yard. To date, she remains reassigned to the motor

pool.

        32.    Upon information and belief, as a result of her reassignment away from her

administrative position, Plaintiff has lost certain opportunities for advancement within the

Department of Streets and Sanitation.

        33.    CITY's course of conduct toward plaintiff showed a willful and/or reckless

disregard of Plaintiff's rights to employment free from impermissible discriminatory and

retaliatory conduct.

        34.    As a further result of the CITY’s above stated actions, Plaintiff was forced to

endure a retaliatory hostile work environment and reassignment during her employment with the

Department of Streets and Sanitation and has been deprived of income in the form of wages and

benefits, solely because of impermissible retaliation, in an amount to be proved at trial, and has

suffered, and continues to suffer emotional distress, humiliation, embarrassment, and mental

anguish.

        WHEREFORE, Plaintiff ORALEAN WILLIAMS, respectfully prays that this Court

enter judgment in her favor and against CITY OF CHICAGO:

        (a)    Declaring that the conduct of City of Chicago described herein is in violation of
               Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. Sec. 2000e, et
               seq.;

        (b)    Awarding plaintiff any salary, with interest, she lost as a result of City of
               Chicago’s conduct;


                                               15
     Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 16 of 22 PageID #:16




        (c)    Awarding plaintiff compensatory damages, including for emotional distress,
               humiliation, embarrassment mental anguish;

        (d)    Awarding plaintiff reasonable attorneys' fees and costs under 42 U.S.C. Sec.
               2000(e)-5(k) and 42 U.S.C. §1988; and

        (e)    Awarding plaintiff such other and further relief as this Court deems proper and
               just.


                                           COUNT IV-CITY
                                         42 U.S.C. §1981, §1983


        1-49. Plaintiffs repeat and reallege Paragraphs 1-37 of Count I and paragraphs 31-37 of

Count II, and paragraphs 30-34 of Count III as paragraphs 1-49 of this Count IV, as though fully

rewritten, herein.

        50.    At all relevant times, CITY empowered ADAMS as well as Streets and Sanitation

supervisory personnel including but not limited to Janet Gay, Josie Cruz, “Jay” and “Ray” to

establish a hostile work environment of race and gender discrimination against Plaintiff by

placing each of them in a position to establish a pattern and practice of race and gender

discrimination against the Department of Streets and Sanitation’s black and female employees,

including plaintiff, and by failing to monitor their activities in a manner that would eliminate or

prevent race and gender discrimination against its black and female employees, including

plaintiff.

        51.    At all relevant times, CITY further empowered ADAMS as well as Streets and

Sanitation supervisory personnel, including but not limited to Janet Gay, Josie Cruz, “Jay” and

“Ray” to establish a hostile work environment of retaliation by placing them in a position to

establish a pattern and practice of retaliation against Department of Streets and Sanitation

employees, including Plaintiff, who complain about race and gender discrimination and


                                                16
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 17 of 22 PageID #:17



retaliatory conduct, and by failing to monitor their activities in a manner that would eliminate or

prevent retaliation against its employees who complain about perceived race and gender

discrimination and harassment, and retaliatory practices, including plaintiff.

       52.     CITY Streets and Sanitation supervisory personnel, including but not limited to

ADAMS, Janet Gay, Josie Cruz, “Jay” and “Ray” each acted with discriminatory and retaliatory

intent when it/they subjected black and/or female employees and allowed black and/or female

employees to be subjected, including plaintiff, to a pattern and practice of discrimination and/or

retaliation based upon gender and/or race, as well as good faith complaints of gender and race

discrimination.

       53.     At all relevant times herein, the defendants knew that the conduct as described

herein was a violation of 42 U.S.C. §1981, 42 U.S.C. §1983, 42 U.S.C. 2000e, and the First and

Fourteenth Amendments.

       54.     All of the actions taken against Plaintiff by the Defendants or those agents,

servants and/or employees acting on behalf of the CITY and referred to herein, including the race

and gender discrimination and harassment, retaliatory adverse employment actions, and the

approving and condoning of these actions by the CITY, was done by the Defendants while acting

under color of state law and in their official capacities, and had the effect of depriving plaintiff of

rights secured by the Constitution and laws of the United States, specifically 42 U.S.C. §1981, 42

U.S.C. 2000e and the First and Fourteenth Amendments, in violation of 42 U.S.C. §1983.

       55.     All of the actions taken against Plaintiff by the Defendants or those agents,

servants and/or employees acting on behalf of CITY and referred to herein, including the race

and gender discrimination and harassment, retaliatory adverse employment actions and the

approving and condoning of these actions by the CITY, was in retaliation for the exercise and/or



                                                  17
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 18 of 22 PageID #:18



the attempted exercise of plaintiff’s right to speech, press and association, in violation of the

First Amendment, and/or because of plaintiff's race in violation of due process and equal

protection, in violation of the Fourteenth Amendment.

       56.     Additionally, CITY failed to implement any policy that it may purport to have to

prevent and/or eliminate race and gender discrimination and harassment, and impermissible

retaliation for employees who complain about illegal discriminatory and/or retaliatory conduct at

the Department of Streets and Sanitation.

       57.     The actions of the defendants or those agents, servants and/or employees acting

on behalf of the Department of Streets and Sanitation, in failing to take any immediate corrective

action to prevent and/or prohibit instances of race and/or gender discrimination and harassment

against Plaintiff, and retaliation against plaintiff for speaking out about race discrimination,

harassment, and retaliation, were carried out by sufficiently high ranking officials of the City of

Chicago Department of Streets and Sanitation who either possessed or had been delegated final

policymaking authority by CITY with regard to personnel issues within the Department of

Streets and Sanitation, including, but not limited to ADAMS, Janet Gay, Josie Cruz, “Jay” and

“Ray”, as to cause these actions to constitute policy, custom or practice of CITY.

       58.     The actions of the defendants or those agents, servants and/or employees acting

on behalf of CITY, in failing to take any immediate corrective action to prevent and/or prohibit

instances of race discrimination and harassment against Plaintiff, and/or gender discrimination

and harassment against Plaintiff, condoning such conduct, and in retaliating and allowing

retaliation against Plaintiff for speaking out about race and/or gender discrimination and

harassment, and retaliation, were part of CITY’s policy, official or unofficial, and not a departure

from any policy of CITY.



                                                18
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 19 of 22 PageID #:19



       59.      As a direct and proximate cause of CITY’S systemic policy and/or custom of race

and gender discrimination and harassment, and retaliation, plaintiff has been, and continues to

be, deprived of her rights, privileges and/or immunities secured by the Constitution and laws,

including but not limited to 42 U.S.C. §1981, 42 U.S.C. 2000e and the First and Fourteenth

Amendments, in violation of 42 U.S.C. §1983.

       60.      The aforementioned incidents created an intimidating, retaliating, and hostile and

offensive work environment for plaintiff, by the defendant, and therefore violated plaintiff's

rights under 42 U.S.C. §1981, and the First and Fourteenth Amendments, in violation of 42

U.S.C. §1983.

       61.      As a result of the illegal racial and gender discrimination and harassment,

retaliation and other unlawful employment practices complained of herein, plaintiff experienced,

and continues to experience, loss of wages and benefits, and suffered and continues to suffer

from emotional distress and mental anguish.

       WHEREFORE, Plaintiff, ORALEAN WILLIAMS, respectfully prays that this Court

enter judgment in favor of Plaintiff and against CITY OF CHICAGO:

       (a)      Declaring that the conduct of defendant, City of Chicago described herein is in
                violation of 42 U.S.C. § 1981 et seq. and 42 U.S.C. §1983, et seq.;

       (b)      Awarding Plaintiff any salary, with interest, she lost as a result of the conduct of
                defendant, City of Chicago;

       (c)      Awarding Plaintiff compensatory damages, including for emotional distress,
                humiliation, embarrassment mental anguish;

       (d)      Awarding Plaintiff reasonable attorneys' fees and costs under 42 U.S.C. §1988;
                and

       (e)      Awarding plaintiff such other and further relief as this Court deems proper and
                just.




                                                 19
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 20 of 22 PageID #:20



                                             COUNT V
                          42 .S.C. §1981, §1983-INDIVIDUAL LIABILITY

       1-49. Plaintiffs repeat and reallege Paragraphs 1-49 of Count IV as paragraphs 1-49 of

this Count IV, as though fully rewritten, herein.

       50.     The aforementioned race and gender harassment and discrimination and

retaliation and corresponding constitutional deprivation by ADAMS, beginning on or around

May of 2014 and continuing through July of 2015, was directly caused and intended by

ADAMS.

       51.     The aforementioned racial and gender harassment and discrimination and

retaliatory misconduct by ADAMS was intentional and performed by, the direction of and/or

with the complete knowledge and acquiescence of ADAMS.

        WHEREFORE, Plaintiff, ORALEAN WILLIAMS, prays that this Court enter judgment

in favor of Plaintiff and against RICHARD “BUCK” ADAMS, individually,:

       (a)     Declaring that the conduct of defendant ADAMS described herein is in violation
               of 42 U.S.C. §1981, et seq. and 42 U.S.C. §1983, et seq.;

       (b)     Awarding Plaintiff, any salary, with interest, she has lost as a result of the conduct
               of defendant ADAMS;

       (c)     Awarding Plaintiff punitive damages against defendant ADAMS;

       (d)     Awarding Plaintiff, compensatory damages, including for emotional distress,
               humiliation, embarrassment and mental anguish, against defendant ADAMS;

       (e)     Awarding Plaintiff reasonable attorneys' fees and costs under 42 U.S.C. §1988
               against defendant ADAMS ; and

       (f)     Awarding Plaintiff such other and further relief as this Court deems proper and
               just.


PLAINTIFFS DEMAND TRIAL BY JURY OF ALL ISSUES HEREIN.

                                                         Respectfully submitted,


                                                    20
   Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 21 of 22 PageID #:21




                                            By: /s/ Seth R. Halpern
Counsel for Plaintiffs
Seth R. Halpern
John R. Malkinson
Meredith Buckley
MALKINSON & HALPERN, P.C.
208 South LaSalle Street
Suite 1750
Chicago, Illinois 60604
(312) 427-9600




                                       21
    Case: 1:16-cv-08271 Document #: 1 Filed: 08/23/16 Page 22 of 22 PageID #:22



                           VERIFICATION BY CERTIFICATION

       Under penalties as provided by law, the undersigned certifies that the statements set forth

in this instrument are true and correct, except as to matters therein stated to be on information

and belief and, as to such matters, the undersigned certifies as aforesaid that he verily believes

the same to be true.



                                              s/Seth R. Halpern




                                                 22
